                                                                        FILED IN OPEN COURT
                                                                           U.S.D.C.-Atlanta

                                                                            OCT 2 4 20)7
                      I N THE UNITED STATES DISTRICT C O U l ^ . ^ A ^ ^ ^ H A j E N ^ i e r k
                     FOR THE NORTHERN DISTRICT OF GEORGIA A ^ - ^ ^ J ^ ^ ^ t y cierk
                                A T L A N T A DIVISION


      U N I T E D STATES OF A M E R I C A

                                                   Criminal Indictment
             V.
      EDGAR PINEDA-CELIS, A.K.A.
                                                   No.
      CHATO




THE G R A N D JURY CHARGES THAT:


                                            Count One

      Beginning on a date unknown to the Grand Jury, but at least as of on or about

May 1, 2013, and continuing until on or about May 13, 2013, i n the Northern

District of Georgia and elsewhere, the defendant,

                                Edgar Pineda-Celis, a.k.a. Chato,

did     knowingly combine,         conspire,   confederate, agree, and     have a   tacit

understanding w i t h other persons k n o w n and unknown to the Grand Jury, to

violate Title 21, United States Code, Section 841(a)(1), that is, to possess w i t h the

intent to distribute a controlled substance, said conspiracy involving at least five

hundred (500) grams of a mixture and substance containing a detectable amount

of methamphetamine, a Schedule I I controlled substance, pursuant to Title 21,

United States Code, Section 841(b)(l)(A)(viii),

      all i n violation of Title 21, United States Code, Section 846.
                                     Count Two
   On or about May 12, 2013, i n the Northern District of Georgia and elsewhere,

the defendant,

                            Edgar Pineda-Celis, a.k.a. Chato,

aided and abetted by others known and unknown to the Grand Jury, d i d

knowingly possess w i t h the intent to distribute a controlled substance, said

possession involving at least five hundred (500) grams of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule I I controlled

substance, i n violation of Title 21, United States Code, Sections 841(a)(1) and

841 (b)(1)(A)(viii), and Title 18, United States Code, Section 2.


                            FORFEITURE PROVISION

      1. U p o n conviction of the controlled substance offenses alleged i n Counts

One and T w o of this Indictment, the defendant shall forfeit to the United States,

pursuant to Title 21, United States Code, Section 853, all property constituting, or

derived f r o m , proceeds obtained, directly or indirectly, as a result of the said

violations and all property used or intended to be used, i n any manner or part, to

commit, or to faciUtate the commission of the said violations, including but not

limited to the following:

      a. MONEY JUDGMENT: A sum of money i n United States currency equal

to the total amount of money involved i n each offense, or conspiracy to commit

such offense, for which the defendant is convicted.
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   If any of the above-described forfeitable property, as a result of any act or

omission of the defendant: (a) cannot be located upon the exercise of due

diligence; (b) has been transferred or sold to, or deposited w i t h , a third party; (c)

has been placed beyond the jurisdiction of the court; (d) has been substantially

diminished i n value; or e) has been commingled w i t h other property which

cannot be divided without difficulty; it is the intent of the United States,

pursuant to Title 21, United States Code, Section 953(p), to seek forfeiture of any

other property of said defendant up to the value of the forfeitable property.




 Assistant United States Attorney
Georgia Bar No. 688565
600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181




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